
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks $500.00 for reimbursement of the cost of an independent medical examination performed in the prosecution of a compensable claim before the respondent State agency. The documentation for the medical examination was not pro cessed for payment within the appropriate fiscal year; therefore, claimant has not been reimbursed.
In its Answer, respondent admits the validity of the claim as well as the amount, and states that there were sufficient funds expired in the appropriate fiscal year from which the invoice could have been paid.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $500.00.
Award of $500.00.
